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                 UNITED STATES DISTRICT COURT
                               Eastern District of California
     Petition to Modify the Conditions or Term of Supervision
                   with Consent of the Offender
                        (Probation Form 49, Waiver of Hearing, is on file)

Name of Offender:      Mikel Brown                           Docket Number:       0972 2:12CR00169

Name of Judicial Officer:      Morrison C. England, Jr., Chief United States District Judge

Date of Original Sentence:     5/15/2014

Original Offense: 21 U.S.C. § 843(b) Use of a Telephone to Commit A Drug Trafficking Offense
(Class Felony)

Original Sentence: 36 months custody of Bureau of Prisons; 36 months Supervised Release; $100
special assessment; Mandatory drug testing; No firearms; DNA collection

Special Conditions:

   1)   Warrantless Search
   2)   Financial Disclosure
   3)   Financial Restrictions
   4)   Drug/Alcohol Treatment
   5)   Drug/Alcohol Testing
   6)   Cellular Phone Restrictions
   7)   Aftercare Co-Payment
   8)   No Association with Gang Member


Type of Supervision:     TSR

Date Supervision Commenced:        10/31/2014

Other Court Actions:

08/28/2014:       Amended Judgment: Supervised Release term corrected to 12 months.

06/16/2015:       Prob12B Petition to Modify Conditions filed adding Special Condition Number 9,
                  location monitoring for a period of up to 3 months.




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                                                                                                  (08/13)
RE: MikelCase
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                                 PETITIONING THE COURT


To modify the conditions of supervision as follows:

   10.     As directed by the probation officer, the defendant shall participate in a program of
           outpatient mental health treatment.


Justification: On June 16, 2015, a Petition to Modify the Conditions or Term of Supervision with the
Consent of the Offender was submitted to the Court recommending up to 3 months location monitoring
based on a positive drug test for marijuana. The modification was approved; however, in addition to
home detention, the offender has requested a modification for mental health counseling to address
unresolved issues stemming from childhood abuse. This request came after the June 16, 2015, Prob12B,
petition and is strongly recommended. The offender agreed to these terms and signed a copy of the
Prob49 - Waiver of Hearing, which is attached for the Court’s review.

                                                      Respectfully submitted,




                                                      United States Probation Officer
                                                      Telephone: (916) 930-4397

DATED:       7/15/2015
                                                      Reviewed by,

                                                      /s/ Glenn P. Simon for

                                                      Jeffrey C. Oestreicher
                                                      Supervising United States Probation Officer




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                                                                                                     (04/13)
RE: MikelCase
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                                                                 2:12CR00169



THE COURT ORDERS:

☒ Modification approved as recommended.

☐ Modification not approved at this time. Probation Officer to contact Court.

☐ Other

Dated: July 31, 2015




CC:

United States Probation

Assistant United States Attorney: Jason Hitt

Defense Counsel: Ronald Peters




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